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 5
                                     UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 7   LOCALS 302 AND 612 OF THE
     INTERNATiONAL UN!ON OF                                                   NO.
 8   OPERATING ENGINEERS
     CONSTRUCTION INDUSTRY HEALTH
 9
     AND SECURITY FUND; LOCALS 302                                            COMPLAINT TO COLLECT TRUST
10   AND 612 OF THE INTERNATIONAL                                             FUNDS AND UNION DUES
     UNION OF OPERATING ENGINEERS-
11   EMPLOYERS CONSTRUCTION
     INDUSTRY RETIREMENT FUND;
12   WESTERN WASHINGTON OPERATING
     ENGINEERS-EMPLOYERS TRAINING
13
     TRUST FUND; and LOCAL 302
14
     INTERNATIONAL UNION OF
     OPERATING ENGINEERS,
15
                                          Plaintiffs.
f6
                             V.
17

     CADMAN MATERIALS. INC., a
18
     Washington corporation,
19
                                          Defendant.
20

21                                                                     COUNT ONE
22               Plaintiff Operating Engineers-Employers Welfare. Pension, and Training Trust

23
     Funds allege:
24

25


26   COMPLAINT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                  Reid, McCarthy, Ballew & Leahy, L.LP.
     Page 1 of 6                                                                                     ATTORNEYS AT LAW
     G:\Oi-01999\S40 !UOE TrustVGadman Materials 16481 4-18-\Gomplaint,docx           iOO WEST HARRISON STREET • NORTH TOWER, SUITE 300
                                                                                                  SEATTLE, WASHINGTON 98119
                                                                                          TELEPHONE: (206) 285-0464 • FAX: (206) 28S.8925
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2                                                                                  I.


3                They are unincorporated associations operating as Trust Funds pursuant to

4    Section 302 of the Labor Management Relations Act of 1947, as amended, under the

5
     respective names of Locals 302 and 612 of the International Union of Operating
6
     Engineers-Construction Industry Health & Security Fund, Locals 302 and 612 of the
 7
     International Union of Operating Engineers-Employers Construction Industry
 8
     Retirement Fund, and Western Washington Operating Engineers-Employers Training
 9

10
     Fund, to provide medical, retirement, and training benefits to eligible participants.

11   Plaintiffs' offices are located in King County, Washington.

12                                                                          II.

13
                 The Court has Jurisdiction over the subject matter of this action under Section
14
     502 (e)(l) and (f) of the Employee Retirement income Security Act of 1974
15
     ("ER!SA"), 29 U.S.C. §1132 (e)(l) and (f) and under Section 301 (a) of the Taft-
16
     Hartley Act. 29 U.S.C. §185 (a).
17
                                                                            ili.
18

19               Venue is proper in this district under Section 502 (e)(2) of ERISA, 29 U.S.C.

20   §1132 (e)(2), because Plaintiff Trusts are administered in this district.

21                                                                          IV.

22               Defendant is a Washington corporation.
23


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26   COMPLAINT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                     Reid, McCarthy, Ballew & Leahy, L.L.R
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                                                                              V.
 1

 2               Defendant is bound to a collective bargaining agreement with Local 302 of the

 3   International Union of Operating Engineers (hereinafter "Local"), under which

 4
     Defendant is required to promptly and fully report for and pay monthly contributions
 5
     to the Plaintiff Trusts at varying, specified rates for each hour of compensation
 6
     Defendant pays to its employees who are members of the bargaining unit
 7
     represented by the Local (such bargaining unit members are any of Defendant's part
 8
     time or full time employees who perform any work task covered by the Defendant's
 9

10   labor contract with the Local, whether or not those employees actuaily Join the

I!   Local).

12                                                                            VI.

13
                 Defendant accepted Plaintiffs' respective Agreements and Declarations of
14
     Trust and thereby agreed to pay to each of Plaintiff Trusts liquidated damages equal
15
     to twelve percent (12%) of all delinquent and delinquently paid contributions, or
16
     $25.00 per month, whichever sums are greater, and twelve percent (12%) annual
17

     interest accruing upon each monthly contribution delinquency from the first day
18

19   thereof until fully paid, as well as all attorneys fees and costs, including audit

20   expenses if applicable, which Plaintiffs incur in collection of Defendant's unpaid

21
     obligations.

22
                                                                              VII.

23
                 Since the 1st day of April 2018, Defendant failed to promptly report for and/or
24
     pay to Plaintiff Trusts all amounts due them, as hereinabove set forth, for work
25

26   COMPLAINT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                  Reid, McCarthy, Ballew & Leahy, LL.P.
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     performed by Defendant's employees, and only Defendant's records contain the

     detailed information necessary to an exact determination of the extent of Defendant's

     unpaid obligations.


                                                                             COUNT TWO

                 Plaintiff, Local 302 of the International Union of Operating Engineers

     (hereinafter "Local"), alleges:



9                It is a labor organization with its principal offices in King County and brings
10
     this action pursuant to Section 301 of the Labor Management Relations Act of 1947,
It
     as amended.
12

13

14               Defendant is a Washington corporation.

15
                                                                              ill.
16
                 Defendant entered into an agreement with the Local, whereunder Defendant
17
     agreed to deduct from the periodic paychecks of its employees who are represented
18
     by the Local, specified amounts for each hour of compensation Defendant pays to
19

20
     those employees and to remit the total thus deducted each month to the Plaintiff

21   Local no later than the fifteenth (15th) of the month immediately following the month

22   in which such deductions were made.

23


24

25

26   COMPLAINT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                      Reid, McCarthy, Ballew & Leahy, L.L.P.
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                                                                              IV.
 1

2                Since the 1 day of April, 2018. Defendant failed to promptly report for and/or

3    pay to the Local the total sum deducted from the periodic paychecks of Defendant's

4    employees who are represented by the Local.

 5
                 WHEREFORE. Plaintiffs pray the Court as follows:
 6
     1. That the Defendant be compelled to render a monthly accounting to the
 7
                 Plaintiffs' attorneys and set forth in it the names and respective social security
 8

                 numbers of each of the Defendant's employees who are members of the
9

10               bargaining unit represented by the Local, together with the total monthly hours

II               for which the Defendant compensated each of them, for the employment

12               period April 2018 to the date of service of this Complaint to Collect Trust
13
                 Funds and Union Dues. and for whatever amounts may thereafter accrue.
14
     2. That plaintiff Trust Funds be granted Judgment against Defendant under
15
                 COUNT ONE for:
16
                              a. A!l delinquent contributions due;
17
                              b. A!l liquidated damages and pre-judgment interest due;
18


19                           c. Ail attorneys fees and costs incurred by Plaintiffs in connection

20                                        with Defendant's unpaid obligations; and

21                           d. Such other and further relief as the court may deem just and

22
                                          equitable.
23
     3. That Plaintiff Trusts be granted judgment against Defendant under COUNT
24
                 TWO for:
25

26   COMPLAINT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                 Reid, McCarthy, Ballew & Leahy, L.L.P.
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 1
                              a. All amounts owing to it by the Defendant; and

 2                            b. Such other and further relief as the court may deem Just and

 3                                        equitable.

 4

 5
                              (th
                  DATED this 24ln day of July, 2018.
 6


 7

 8                                                                            REID, MCCARTHY, BALLEW & LEAHY,
                                                                              L.L.P.
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II
                                                                              Russell J. Reid/W^A#2560
12                                                                            Attorney for Plaintiffs

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26   COMPLAENT TO COLLECT TRUST FUNDS
     AND UNION DUES                                                                          Reid, McCarthy, Ballew & Leahy, L.L.P.
     Page 6 of 6                                                                                               ATTORNEYS AT LAW
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